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Debtor 1 Yosvani Lopez Munoz

 

 

Fires! Name Middie Name Last Name
Debtor 2
(Spouse, if fling) First Name Middie None Last Name
United States Bankruptcy Court forthe: Southern District of Florida
(State)

Case number _24-13477-LMI
(if known)

 

Official Form 427 :
Cover Sheet for Reaffirmation Agreement 42145

Anyone who is a party to a reaffirmation agreement may fill out and file this form. Fill it out completely, attach it to the reaffirmation agreement,
and file the documents within the time set under Bankruptcy Rule 4008.

ae) Explain the Repayment Terms of the Reaffirmation Agreement

<1. Who is the creditor? TD Auto Finance, LLC
| Name of the creditor

2, Howmuchisthedebt? — 5 the date that the bankruptcy caseis filed $16,080.07

To be paid under the reaffirmation agreement $16,185.07

$_322.49 per month for __59 months (if fixed interest rate)

 

 

3. What Is the Annual . 7,949
Percentage Rate (APR) Before the bankruntcv case was filed 7.94%
of interest? (See
Bankruptcy Code Under the reaffirmation agreement 7.94% [J Fixed rate

§ 524(k)(3)(E).) (Adjustabie rate

‘4. Does collateralsecure (] No

the debt? Yes. Describe the collateral. 2016 Buick Verano VIN 1G4PW5SK0G4165196

| Current market value $12,200.00
i
{

'

15. D he creditorassert [4 No i
fae a debt 4 . Vee. Attach an explanation of the nature of the debt and the basis for contending that the debt is nondischargeable.

'  nondischargeable?

6. Using information from income and expenses reported on Schedules | and J Income and expenses stated on the reaffirmation agreement
Schedule l; Your Income

| (Official Form 1061) and na
{ 6a. Combined monthly income from 5 a 13 b.2¢ Se. Monthly income from all sources $ es LA Gg. 72

‘Schedule J: Your
| Expenses (Official Form line 12 of Schedule | after payroll deductions

106J), fill in the amounts.
6b. Monthly expenses from line 22c of__ 112 2) eyO ef. Monthly expenses wif $23 OO.

Schedule J

| 8c. Monthly payments on ail — 6g. Monthly payments on all —_ f) :
$ scl reaffirmed debts not included in $ ‘

| reaffirmed debts not listed on

i Schedule J monthly expenses

! 3°) Bo

6d. Scheduled net monthly income $ 6h. Present net monthly income § 5.

i Subtract lines 6b and 6c from Ga. Subtract lines 6f and 6g from 6e. i
lf the totai is less than 0, put the lf the total is less than 0, put the 1

! number in brackets. numberin brackets,

 

Official Form 427 Cover Sheet for Reaffirmation Agreement page 1
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Case number (if known)_24-19477-LM

 

 

Debtor 4 Yosvani Lopez Munoz
Fist Nance Midde Name Cast Nemo
‘7. Are the income amounts No

on lines 6a and 6e
different?

() Yes. Explain why they are different and complete line 10.

ve

 

 

 

 

8. Are the expense
, amounts on fines 6b Cl ves. Explain why they are different and complete line 10.
| and 6f different?
‘ _ _— —
9. 1s the net monthly A No
i inceomein line 6h less Ch yes. A presumption of hardship arises (unless the creditor is a credit union).
than 0? Expiain how the debtor will make monthly payments on the reaffirmed debt and pay other living expenses.
| Complete line 10.
!
|
j
b CE ee — emt. onan ae ~ om ee -—
110. Debter's certification

11.

about lines 7-9

if any answer on tines 7-9 is
Yes, the debtor must sign
here.

If all the answers on lines 7-9
are No, goto line 14.

Did an attomey represent
the debtor in negotiating
the reaffirmation
agreement?

| certify that each explanailcn on lines 7-9 fs true and correct.

 

 

t
Signature of Debtor 4 Signature of Debtor 2 (Spouse Only in a Joint Case)

No

No
g Yes. qi the attomey executed a declaration or an affidavit to support the reaffirmation agreement?
Yes

 

a Sign Here

 

must sign here.

Official Form 427

Whoever fills out this form 1 certify that the attached agreementis a true and correct copy of the reaffirmation agreement between the
parties identified on this Cover Sheet for Reaffirmation Agreement.

 

 

Date
Signature MM /OD/YYYY
Bertis A. Echols, fli
Printed Name
Check one:
(J Debtor or Debtor's Attorney
&] Creditor or Creditors Attorney
Cover Sheet for Reaffirmation Agreement page 2

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Form 2400A (12/15)

 

Check one.
(_]/Presumption of Undue Hardship
No Presumption of Undue Hardship
See Debtor's Statement in Support of Reaffirmation,
Part H below, to determine which box to check.

 

 

 

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

Inre Yosvani Lopez Munoz Case No.: 21-13477-LMI1
Chapter 7
Debtor.
REAFFIRMATION DOCUMENTS

Name of Creditor: TD Auto Finance, LLC

["] Check this box if Creditor is a Credit Union

PART I. REAFFIRMATION AGREEMENT

Reaffirming a debt is a serious financial decision. Before entering into this Reaffirmation
Agreement, you must review the important disclosures, instructions, and definitions found
in Part V of this form.

A. Brief description of the original agreement being reaffirmed: Contract
For example, auto loan

B. AMOUNT REAFFIRMED: $16,185.07. (includes $125.00 attorney fees)
The Amount Reaffirmed is the entire amount that you are agreeing to pay. This may
include unpaid principal, interest, and fees and costs (if any) arising on or before April
13, 2021, which is the date of the Disclosure Statement portion of this form (Part V).
See the definition of “Amount Reaffirmed” in Part V, Section C below.
C. The ANNUAL PERCENTAGE RATE applicable to the Amount Reaffirmed is 7.94%,
See definition of “Annual Percentage Rate” in Part V, Section C below.

This is a (check one) DX] Fixed rate [J Variable rate

Tf the loan has a variable rate, the future interest rate may increase or decrease from the Annual
Percentage Rate disclosed here.

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D. Reaffirmation Agreement Repayment Terms (check and complete one):
$322.49 per month for _59 months starting on May 15, 2021.

["] Describe repayment terms, includ ing whether future payment amount(s) may be
different from the initial payment amount.

 

 

E. Describe the collateral, if any, securing the debt:

Description: 2016 Buick Verano VIN: 1G4PW5SK0G4165196
Current Market Value $12,200.00

F, Did the debt that is being reaffirmed arise from the purchase of the collateral described above?

Yes. What was the purchase price for the collateral? $23,219.28
(.] No. What was the amount of the original loan? $

G. Specify the changes made by this Reaffirmation Agreement to the most recent credit terms on
the reaffirmed debt and any related agreement:

Terms as of the Terms After
Date of Bankruptcy —_‘Reaffirmation
Balance due (including

fees and costs) $_NA $ NA
Annual Percentage Rate NA % NA %
Monthly Payment $_NA $_NA_

H.(_] Check this box if the creditor is agreeing to provide you with additional future credit in
connection with this Reaffirmation Agreement. Describe the credit limit, the Annual
Percentage Rate that applies to future credit and any other terms on future purchases and
advances using such credit:

 

 

PART II. DEBTOR’S STATEMENT IN SUPPORT OF REAFFIRMATION AGREEMENT
A. Were you represented by an attorney during the course of negotiating this agreement?
Check one. he [] No

B, Is the creditor a credit union?

Check one. ([] Yes xX] No

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C. If your answer to EITHER question A. or B. above is “No,” complete 1. and 2. below.
1. Your present monthly income and expenses are:
a. Monthly income from all sources after payroll deductions
(take-home pay plus any other income) $ LIkb- WL

b. Monthly expenses (including all reaffirmed debts except

this one) $15 66.00
c. Amount available to pay this reaffirmed debt (subtract b. from a.) $ 3 x b. 76

d. Amount of monthly payment required for this reaffirmed debt $ 4 a 2.4 Y

If the monthly payment on this reaffirmed debt (line a.) is greater than the amount you have
available to pay this reaffirmed debt (line ¢.), you must check the box at the top of page one
that says “Presumption of Undue Hardship.” Otherwise, you must check the box at the top
of page one that says “No Presumption of Undue Hardship.”

2. You believe this reaffirmation agreement will not impose an undue hardship on you or your
dependents because:

1 one of the two statements below, if applicable:

You can afford to make the payments on the reaffirmed debt because your monthly
income is greater than your monthly expenses even after you include in your
expenses the monthly payments on all debts you are reaffirming, including this one.

C You can afford to make the payments on the reaffirmed debt even though your
monthly income is less than your monthly expenses after you include in your
expenses the monthly payments on all debts you are am reaffirming, including this

one, because:

 

Use an additional page if needed for a full explanation.

D, If your answers to BOTH questions A. and B. above were “Yes,” check the following
statement, if applicable:

C] You believe this reaffirmation agreement is in your financial interest and you can
afford to make the payments on the reaffirmed debt.

Also, check the box at the top of page one that says “No Presumption of Undue Hardship.”
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PART UL CERTIFICATION BY DEBTOR(S) AND SIGNATURES OF PARTIES

lhereby certify that:
(1) lL agree to reaffirm the debt described above.

(2) Before signing this reaffirmation agreement, | read the terms disclosed in this Reaffirmation
Agreement (Part I) and the Disclosure Statement, Instructions and
Definitions included in Part V below;

(3) The Debtor’s Statement in Support of Reaffirmation Agreement (Part I] above) is
true and complete;

(4) | am entering into this agreement voluntarily and am fully informed of my
rights and responsibilities; and

(5) Ihave received a copy of this completed and signed Reaffirmation Documents form,

SIGNATURE(S) (If this is a joint Reaffirmation Agreement, both debtors must sign.):

. ~f f
Date % f 1 ind bal Signature Uy
Yosvani Lopez Ménoz, Debtor

 

Reaffirmation Agreement Terms Accepted by Creditor:

 

Creditor TD Auto Finance, LLC PO Box 16041, Lewiston, ME 04243-9523
Print Name Address
Bertis A. Echols, Ill, Agent Ke CIE 5/ 13/1
Print Name of Representative Signature Date

PART IV. CERTIFICATION BY DEBTOR’S ATTORNEY (IF ANY)
To be filed only if the attorney represented the debtor during the course of negotiating this agreement.
I hereby certify that: (1) this agreement represents a fully informed and voluntary agreement by the debtor; (2) this

agreement does not impose an undue hardship on the debtor or any dependent of the debtor; and (3) ] have fully
advised the debtor of the legal effect and consequences of this agreement and any default under this agreement.

(_] A presumption of undue hardship has been established with respect to this agreement, In my opinion,
however, the debtor is able to make the required payment.

Check box, if the presumption of undue hardship box is checked on page | and the creditor is not a Credit

Union.
Date i | | ) | 202 | Signature of Debtor’s Atomey(fp CLEC iat ( a O tA 6090 )

» *y
Print Name of Debtor’s Attorney Ricardo Corona, Esq. EY dt?
Catefe—
B2400A, Reaffirmation Documents

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Page 5

PART V. DISCLOSURE STATEMENT AND INSTRUCTIONS TO DEBTOR(S)

Before agreeing to reaffirm a debt, review the terms disclosed in the Reaffirmation
Agreement (Part I and these additional important disclosures and instructions.

Reaffirming a debt is a serious financial decision. The law requires you to take certain steps to
make sure the decision is in your best interest. If these steps, which are detailed in the Instructions provided
in Part V, Section B below, are not completed, the Reaffirmation Agreement is not effective, even though

you have signed it.

A.

DISCLOSURE STATEMENT

What are your obligations if you reaffirm a debt? A reaffirmed debt remains your personal legal
obligation. Your reaffirmed debt is not discharged in your bankruptcy case. That means that if you
default on your reaffirmed debt after your bankruptcy case is over, your creditor may be able to take
your property or your wages. Your obligations will be determined by the Reaffirmation Agreement,
which may have changed the terms of the original agreement. If you are reaffirming an open end
credit agreement, that agreement or applicable law may permit the creditor to change the terms of
that agreement in the future under certain conditions.

Are you required to enter into a reaffirmation agreement by any law? No, you are not required
to reaffirm a debt by any law. Only agree to reaffirm a debt if it is in your best interest. Be sure you

can afford the payments that you agree to make.

What if your creditor has a security interest or lien? Your bankruptcy discharge does not
eliminate any lien on your property. A ‘‘lien’’ is often referred to as a security interest, deed of trust,
mortgage, or security deed. The property subject to a lien is often referred to as collateral. Even if
you do not reaffirm and your personal liability on the debt is discharged, your creditor may still have
a right under the lien to take the collateral if you do not pay or default on the debt. If the collateral is
personal property that is exempt or that the trustee has abandoned, you may be able to redeem the
item rather than reaffirm the debt. To redeem, you make a single payment to the creditor equal to the
current value of the collateral, as the parties agree or the court determines.

How soon do you need to enter into and file 2 reaffirmation agreement? If you decide to enter
into a reaffirmation agreement, you must do so before you receive your discharge. After you have
entered into a reaffirmation agreement and all parts of this form that require a signature have been
signed, either you or the creditor should file it as soon as possible. The signed agreement must be
filed with the court no later than 60 days after the first date set for the meeting of creditors, so that
the court will have time to schedule a hearing to approve the agreement if approval is required.
However, the court may extend the time for filing, even after the 60-day period has ended.

Can you cancel the agreement? You may rescind (cancel) your Reaffirmation Agreement at any
time before the bankruptcy court enters your discharge, or during the 60-day period that begins on
the date your reaffirmation agreement is filed with the court, whichever occurs later. To rescind
(cancel) your Reaffirmation Agreement, you must notify the creditor that your Reaffirmation
Agreement is rescinded (or canceled). Remember that you can rescind the agreement, even if the
court approves it, as long as you rescind within the time allowed.
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6. When will this Reaffirmation Agreement be effective?

a. If you were represented by an attorney during the negotiation of your Reaffirmation
Agreement and

i. if the creditor is not a Credit Union, your Reaffirmation Agreement becomes effective
when it is filed with the court unless the reaffirmation is presumed to be an undue hardship. If the
Reaffirmation Agreement is presumed to be an undue hardship, the court must review —_it and may
set a hearing to determine whether you have rebutted the presumption of undue hardship,

ii. if the creditor is a Credit Union, your Reaffirmation Agreement becomes effective when
it is filed with the court.

b. If you were not represented by an attorney during the negotiation of your Reaffirmation
Agreement, the Reaffirmation Agreement will not be effective unless the court approves it. To have
the court approve your agreement, you must file a motion. See Instruction 5, below. The court will
notify you and the creditor of the hearing on your Reaffirmation Agreement. You must attend this
hearing, at which time the judge will review your Reaffirmation Agreement. If the judge decides that
the Reaffirmation Agreement is in your best interest, the agreement will be approved and will
become effective. However, if your Reaffirmation Agreement is for a consumer debt secured by a
mortgage, deed of trust, security deed, or other lien on your real property, like your home, you do not
need to file a motion or get court approval of your Reaffirmation Agreement.

7. What if you have questions about what a creditor can do? If you have questions about reaffirming
a debt or what the law requires, consult with the attorney who helped you negotiate this agreement. If
you do not have an attorney helping you, you may ask the judge to explain the effect of this
agreement to you at the hearing to approve the Reaffirmation Agreement. When this disclosure refers
to what a creditor “may” do, it is not giving any creditor permission to do anything. The word “may”
is used to tell you what might occur if the law permits the creditor to take the action.

B. INSTRUCTIONS

1. Review these Disclosures and carefully consider the decision to reaffirm. If you want to reaffirm,
review and complete the information contained in the Reaffirmation Agreement (Part I above). If
your case is a joint case, both spouses must sign the agreement if both are reaffirming the debt.

2. Complete the Debtor’s Statement in Support of Reaffirmation Agreement (Part II above). Be sure
that you can afford to make the payments that you are agreeing to make and that you have
received a copy of the Disclosure Statement and a completed and signed Reaffirmation Agreement.

3. If you were represented by an attorney during the negotiation of your Reaffirmation Agreement, your
attorney must sign and date the Certification By Debtor’s Attorney section (Part IV above).

4. You or your creditor must file with the court the original of this Reaffirmation Documents packet and
a completed Reaffirmation Agreement Cover Sheet (Official Bankruptcy Form 27).

5. Ifyou are not represented by an attorney, you must also complete and file with the court a separate
document entitled “Motion for Court Approval of Reaffirmation Agreement” unless your
Reaffirmation Agreement is for a consumer debt secured by a lien on your real property, such as
your home. You can use Form B240B to do this.
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Cc. DEFINITIONS

1. “Amount Reaffirmed” means the total amount of debt that you are agreeing to pay (reaffirm) by
entering into this agreement. The total amount of debt includes any unpaid fees and costs that you are
agreeing to pay that arose on or before the date of disclosure, which is the date specified in the
Reaffirmation Agreement (Part I, Section B above). Your credit agreement may obligate you to pay
additional amounts that arise after the date of this disclosure, You should consult your credit
agreement to determine whether you are obligated to pay additional amounts that may arise after the

date of this disclosure.

2. “Annual Percentage Rate” means the interest rate on a loan expressed under the rules
required by federal law. The annual percentage rate (as opposed to the “stated interest
rate”) tells you the full cost of your credit including many of the creditor’s fees and
charges. You will find the annual percentage rate for your original agreement on the
disclosure statement that was given to you when the loan papers were signed or on the
monthly statements sent to you for an open end credit account such as a credit card.

3. “Credit Union” means a financial institution as defined in 12 U.S.C. § 461(b)( 1 )(A)Civ).
it is owned and controlled by and provides financial services to its members and typically
uses words like “Credit Union” or initials like “C.U.” or “F.C.U.” in its name.
